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                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA                                            2'
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  UNITED STATES OF AMERICA,                             CA SE NO. 11CR>2t1~'Ef~Wlj1-ftcr Df C.~.LlFOIiHI:.

                               Plaintiff,                                   '1'1'   vfAP                DEPUTY


                     vs.                                JUDGMENT OF DIS~SSAL
  JOSE MARTIN BARRAGAN-LOPEZ
  (2) ,

                              Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

          an indictment has been filed in another case against the defendant and
          the Court has granted the motion of the Government for dismissal of
          this case, without prejudice; or

          the Court has dismissed the case for unnecessary delay; or

          the Court has granted the motion of the Government for dismissal,
          without prejudice; or

__
 X__ the Court has granted the Defendant's Oral Rule 29 Motion.

          a jury has been waived, and the Court has found the defendant not
          guilty; or

          the jury has returned its verdict, finding the defendant not guilty;

___X_ of the offense(s) as charged in the Indictment:
Count 1: 21 :952 and 960; 18:2 - Importation of Cocaine; Aiding and Abetting
Count 2: 21 :952 and 960; 18:2 - Importation of Methamphetamine; Aiding and Abetting




              IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: NOVEMBER 17, 2011
                                                       ~
                                                       WILLIAM Q. HAYES
                                                       UNITED STATES DISTRICT JUDGE
